        Case 1:17-cv-01147-WJ-LF Document 180 Filed 09/03/19 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

                             Before the Honorable Laura Fashing,
                                United States Magistrate Judge

                                     CLERK’S MINUTES

CASE TITLE:         Rodriguez v. Serna et al         DATE:          Tuesday, September 03, 2019

                                                     COURTROOM
CASE No:            1:17-cv-01147-WJ-LF              CLERK:              CDA

PROCEEDINGS                                          COURT IN
COMMENCED: 2:30 p.m.                                 RECESS:             2:47 p.m.


TYPE OF PROCEEDING: Status Conference

ATTORNEY(S) PRESENT                                  ATTORNEY(S) PRESENT
FOR PLAINTIFF(S):                                    FOR DEFENDANT(S):

Jason Marks                                          Mark Komer for Defendants Ricky
                                                     Serna, Patricia Trujillo, Nancy Barcelo, Rick
                                                     Bailey, Matthew Martinez, Mario Caetano,
                                                     Andy Romero, John Waters, Northern New
                                                     Mexico College (NNMC), and
                                                     The NNMC Board of Regents

                                                     Jamie Sullivan for Defendants
                                                     Brandi Cordova, Pedro Martinez,
                                                     and Ryan Cordova


The following issues were discussed:

I.   Because plaintiff is unable to personally attend the settlement conference previously
     tentatively set on October 16, 2019, the Court would like to pick a new date for the
     settlement conference.

II. The Court and counsel are available on 11/14/19, 11/15/19, 11/25/19, 12/2/19, 12/4/19,
    and 12/5/19. Plaintiff will contact the Court at (505) 348-2360 or
    fashingchambers@nmd.uscourts.gov, no later than close of business on Thursday,
    September 5, 2019, to advise of her availability to personally appear at the settlement
    conference. Defendants will contact the Court no later than close of business on Monday,
    September 9, 2019, to advise of their availability.

III. The individual defendants will not be required to personally participate in the settlement
     conference as an adjuster with full and final authority will appear on defendants’ behalf.
